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@\/EH ii~ii§ C»GUNE"EQ

 

Fill in this information to identify your case:
r f _
Debi0r1 iQ@C\i/\ar K@>q WFk€f`

 

 

 

 

Firsi NaQy Middie ij( usi Name
l;l Check if this is an amended
Debt°'z , , N plan, and list below the
(Spouse, ifElmg) Flrsx Nama dedle Name Last ama Sections Of the plan that have
t t been changed.
United States Bankruptcy Court for ihe: N@'/` `¢’/l 'e ¢/`r\l District of w ‘C¢m
(State)

 

Case number
(lf known)

 

 

 

 

Ofiicia| Form 113
Chapter 13 Plan 12/11

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
indicate that the option is appropriate in your circumstances or that it is permissible in yourjudicial district. Plans that
do not comply with local rules and judicial rulings may not be confinnab|e.

 

/n the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. lf you do not
have an attorney, you may wish to consult one.

lt you oppose the plan’s treatment of your claim or any provision of this plan, you or your attomey must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy

Court. The Bankruptcy Court may confirm this plan without furlher notice if no objection to confirmation is filed. See

Bankruptcy Ru|e 3015. in addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan

includes each of the following items. If an item is checked as l‘Not Included" or if both boxes are checked, the provision will
be ineffective if set out later in the plan.

 

 

 

 

 

1.1 A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial n included n Not included
payment or no payment at ali to the secured creditor

1.2 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in m included l:l Not included
Section 3.4

1.3 Nonstandard provisions, set out in Part 8 l:l lncluded n Not included

 

 

 

 

m Flan Payments and Length of Plan

2.1 Debtor(s) will make regular payments to the trustee as follows!

.»_.

$ j per m¢“i/| for 6 months

[and $ per for months.] insert additional lines if needed.

|f fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
payments to creditors specihed in this plan.

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Debtor RP% }V\£‘ f</ : MD' !\/C'E '/\ Case number

2.2 Regular payments to the trustee will be made from future income in the following manner:
Check all that apply.
cl Debtor(s) will make payments pursuant to a payroll deduction order.
}Sl Debtor(s) will make payments directly to the trustee.
cl Other (specify method of payment):
2.3 income tax refunds.
Check one.
L_.l Debtor(s) will retain any income tax refunds received during the plan tenn.

p Debtor(s) will supply the trustee with a copy of each' income tax return filed during the plan term within 14 days of filing the return and will
turn over to the trustee aii' income tax refunds received during the plan tenn.

n Debtor(s) will treat income tax refunds as foilows:

 

 

2.4 Additionai payments.
Check one.
None. lf “None" is checked, the rest of § 2.4 need not be completed or reproduced.

l;l Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated amount,
and date of each anticipated payment.

 

 

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $

m Treatment of Secured Clalms

 

3.1 Maintenance of payments and cure of defau|t, if any.

Check one.
m None. lf “None” is checked, the rest of § 3.1 need not be completed or reproduced

m The debtor(s) will maintain the current contractual installment payments on the secured claims listed beiow, with any changes required by
the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
trustee, with interest, if any, at the rate stated. Un|ess otherwise ordered by the couit, the amounts listed on a proof of claim filed before the
filing deadline under Bankruptcy Ruie 3002(c) control over any contrary amounts listed below as to the current installment payment and
arrearage. in the absence of a contrary timely filed proof of claiml the amounts stated below are controlling. if relief from the automatic stay
is ordered as to any item of collateral listed in this paragraph, then, unless othenivise ordered by the court, ali payments under this
paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
column includes only payments disbursed by the trustee rather than by the debtor(s).

 

_Name ofcreditor,i"': , 1 ' ,`t.`.oiiat`eraiy ` Currentinstai|ment »~ `Amount of … interest rate on illionthiy plan "Estimatedtotai~ `
` _~ ' , ' ' ` payment ' ~ *1 arrearage (if t arrearage paymenton payments by 1
~ ` g " ~` § " ' ` , (including escrow) any) x ` ' (ifappiicabie) arrearage … ' trustee
55@_/;@,214‘/ g ag z $ % s cg,.@p_ gagnon c
Disbursed by:
cl Trustee

m Debtor(s)

$_________ $_______ % $ $
Disbursed by:
n Trustee
n Debtor(s)

 

Insen‘ additional claims as needed.

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Debtor KQ\II iam k ~ M@ fkev/` Case number

3.2 Request for valuation of security, payment of fully secured ciaims, and modification of undersecured ciaims. Check one.

ij None. lf "None”is checked, the rest of § 3.2 need not be completed or reproduced
The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

§ The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
claim. For secured claims of governmental units, unless otherwise ordered by the couit, the value of a secured claim listed in a proof of
claim filed in accordance with the Bankruptcy Ru|es controls over any contrary amount listed beiow. For each listed claim, the value of
the secured claim will be paid in full with interest at the rate stated beiow.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
plan. if the amount of a creditor's secured claim is listed below as having no value, the creditors allowed claim will be treated in its entirety
as an unsecured claim under Part 5 of this plan. Un|ess othenivise ordered by the court, the amount of the creditor's total claim listed on the
proof of claim controls over any contrary amounts listed in this paragraph.

The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
of the debtor(s) or the estate(s) until the earlier of:

(a) payment of the underlying debt determined under nonbankruptcy law, or

(b) discharge of the underlying debt under 11 U. S. C. § 1328, at which time the lien will terminate and be released by the creditor.

`Name ofcreditor j , _Estimated amount Coilateral v l value of Amount of : ' Amount of ry interest Mon_thiy Estimated total
g y '»';,'ofcreditorstotai » ' j j ~l collateral claims seniorto` secured claim rate v paymentto of monthly z
.' ' : l ’ ' cia'm ' ` ` ` ~§ creditorsclaim , , ~` ` y y '~ creditor _ 1 payments
t
§i~e,lip;z~\: $QM Pro/§@fj $Zi?, 006 $ Q $M ___% 3551/cd Wr>i?@
$ $ $ $ ___% $ $

 

 

 

Insert additional claims as needed.
3.3 Secured claims excluded from 11 U.S.C. § 506.
Check one.
V"None. lf ”None” is checked, the rest of § 3.3 need not be completed or reproduced

i:l The claims listed below were either:

(1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
personal use of the debtor(s), or

(2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or
directly by the debtor(s), as specified below. Uniess othen/vise ordered by the couit, the claim amount stated on a proof of claim filed before the
filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. in the absence of a contrary timely filed proof of
claim, the amounts stated below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).

 

 

 

vflame ofcreditor_` ` . " ',C,oliatera| g `_ y y z :Amoi_.int of claim interest ' Monthlyblan' ~Estimated total
m , ; 1,;~ » ~ g ' _` ._ y ~ ,l v ' , ,. q , ' rate ` payment g v ' payments by`trustee
$ % $ $
Disbursed by:
n Trustee

Cl Debtor(s)

$ % $ $
Disbursed by:

Cl Trustee
n Debtor(s)
insert additional claims as needed.

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Debtor R/(:gj; fla fca lng /7(:/€ /

3.4 Lien avoidance.

Check one.

None. if “None" is checked the rest of § 3.4 need not be completed or reproduced
The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

n The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
debtor(s) would have been entitled under 11 U.S.C. § 522(b). Uniess othenivise ordered by the court, a judicial lien or security interest
securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
amount of thejudiciai lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The
amount, if any, of thejudiciai lien or security interest that is not avoided will be paid in full as a secured claim under the plan, See 11 U.S.C.
§ 522(f) and Bankruptcy Rule 4003(d). if more than one lien is to be avoided provide the information separately for each lien.

' ` "~' infcnn`at_ion`r,é§arding' judicial
lien or security interest . `

Name of creditor

Coliatera|

Lien identification (such as
judgment date. date of lien
recording, book and page number)

Insert additional claims as needed

3.5 Surrender of collateral.

Check one.

 

1 1 csicuiaiion`of lien avoidance fn

a. Amount of lien

b. Amount of all other liens

c. Value of claimed exemptions

d. Total of adding lines a, b, and c

e. Value of debtor(s)' interest in
property

f. Subtract line e from line d.

Extenl of exemption impairment
(Check applicable box):

+$

Cl Line f is equal to or greater than line a.

The entire lien is avoided (Do not complete the next column.)

Cl Line f is less than line a.

A portion of the lien is avoided (Complete the next column.)

p. None. lf “None" is checked the rest of § 3.5 need not be completed or reproduced

 

`Treatment of rema'iiiiii§

secured claim

Amount of secured claim after
avoidance (line a minus line f)

$

interest rate (if applicabie)

%

Month|y payment on secured
claim

$

Estimated total payments on
secured claim

$

n The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim. The debtor(s) request that
upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under§ 1301
be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.

' Nameofci'editor` ' ' `

 

 

Inseit additional claims as needed

Official Form 113

Chapter 13 Plan

_' collateraly t : '

 

 

Page 4

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Debtor /Q 'Q;j ; )\l?v /< ‘ M¢l er/{` Case number

m Treatment of Fees and Priority Clalms

4.1 Generai

Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
postpetition interest.

4.2 Trustee's fees

Trustee's fees are governed by statute and may change during the course of the case but are estimated to be % of plan payments; and
during the plan term, they are estimated to total $

4.3 Attorney’s` fees
The balance of the fees owed to the attorney for the debtor(s) is estimated to be $ §2 .

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
Check one.
'P:None. lf “None" is checked the rest of § 4.4 need not be completed or reproduced

m The debtor(s) estimate the total amount of other priority claims to be

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

Check one.
g None. If ”None" is checked the rest of § 4.5 need not be completed or reproduced
l:] The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a

governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision
requires that payments in § 2. 1 be for a tenn of 60 months,' see 11 U.S.C. § 1322(a)(4).

   

Name o`f creditor r~ .

 

:» Amount ofciaimto be,paid "

$

Insert additional claims as needed

m Treatment of Nonpriority Unsecured Cialms

5.1 Nonpriority unsecured claims not separately classified.

A|lowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. if more than one option is checked the option
providing the largest payment will be effective. Check all that apply.

n The sum of $

 

n % of the total amount of these claims, an estimated payment of $

n The funds remaining after disbursements have been made to all other creditors provided for in this plan.

if the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ .
Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

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Debtor R(:j[l:% ?ZC \ W)a fé£ /` Case number

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.
5a None. lf “None" is checked the rest of § 5.2 need not be completed or reproduced

l;l The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
on which the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the
debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee.
The final column includes only payments disbursed by the trustee rather than by the debtor(s).

 

 

 

Name ofcrediter »' ` :- 'Currenfinstaiiment` Amount:of:~arre'arage Estimated total
' ' 7 y y payment `f ' tobepaidy paymentsby_
`j' ` j , '_ b ' , trustee.`y
$ $ $
Disbursed by:
L_.l Trustee

n Debtor(s)

$ $ $

Disbursed by:
i:l Trustee
cl Debtor(s)

insert additional claims as needed

5.3 Other separately classified nonpriority unsecured claims. Check one.
PNone. lf “None" is checked the rest of § 5.3 need not be completed or reproduced

n The nonpriority unsecured allowed claims listed below are separately classined and will be treated as follows

HNa`rne,`of creditor ~ , _ Basis:for._sep'arate classification v Amount to be paid interest rate ' Estimated total

      

 

 

l" »and_treafment“' .,x on_ the claim (if applicable) amount of
~` ’ ` ~~ 7 ` x payments
$ % $
$ % $

 

 

Insert additional claims as needed

m Executory Contracts and Unexplred Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
and unexpired leases are rejected. Check one.

W`None. /f "None" is checked the rest of § 6. 1 need not be completed or reproduced

n Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject
to any contrary court order or ru|e. An'earage payments will be disbursed by the trustee, The hnal column includes only payments disbursed
by the trustee rather than by the debtor(s).

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i
Debtor £'P\E; hard &" ma /\ kg / Case number

 

        

-",'N`am"e'of creditor:`,"" ' - _' f 'ij_escription`ofleased '_ `Currentinstailment _' lA`m`ou`nt'of y 3 Treatment of arrearage "Estimated:total`
2 , 51 ' , property~orexecutory '_;@ payment ' ` ~ `.v , arrearage,to z ~ ` ~' payments by
' ’ '; ' i ,; j be paid ,: ' ~(Referto,other¢plan ' trustee

,`co`ntr'act/ ' ,l ,
g » ' ~ " section if applicable)

$ $ $
Disbursed by:
Cl Trustee

Ci Debtor(s)

$ $ $
Disbursed by:
Ci Trustee

El Debtor(s)

Insert additional contracts or leases as needed

Vostlng of Property of the Estato

7.1 Property of the estate will vest in the debtor(s) upon
Check the applicable box:

\
33 plan confirmation
cl entry ofdischarge.
n other:

Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions

 

Wone. If “None” is checked the rest of Part 8 need not be completed or reproduced

Under Bankruptcy Ruie 3015(0), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
Gflicia/ Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective

The following plan provisions will be effective only if there is a check in the box “Included" in § 1.3.

 

 

 

 

 

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Debtor R/ C:,`? f'/qa k ~ fugka f Case number

m Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

If the Debtor(s) do not have an attomey, lhe Debtor(s) must sign below,' othenivise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any,
must sign below.

  

X

 

    

 

Signat of Debtor 1 Signature of Debtor 2
Executed on y [ 2‘/¢ 3~0£5 Executed on
MM DD l MM / DD lYYY¥
X Date
Signature of Attorney for Debtor(s) MM / DD /YYYY

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
those contained in Official Form 113, other than any nonstandard provisions included in Part 8.

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Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. |f there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

a. Maintenance and cure payments on secured claims (Part 3, Section 3.1 total) $ § §/O 'W

b. Moditied secured claims (Part 3, Section 3.2 total) $
c. Secured claims excluded from 11 U.S.C. § 506 (Pan‘ 3, Section 3.3 total) $
d. Judicial liens or security interests partially avoided (Part 3, Section 3.4 total) $
e. Fees and priority claims (Part 4 tota/) $
f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount) $
g. Maintenance and cure payments on unsecured claims (Pan‘ 5, Section 5.2 total) $
h. Separately classified unsecured claims (Part 5, Section 5.3 total) $
i. Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total) $
j. Nonstandard payments (Part 8. total) + $

 

Total of|inesathroughj $ < :¢ SQ t a

 

 

 

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